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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

NEW GEORGIA PROJECT, et al.,
    Plaintiffs,
                       v.                                  Civil Action No.
BRAD RAFFENSPERGER, in his official                       1:24-cv-03412-SDG
capacity as Georgia Secretary of State, et al.,
    Defendants.

                                         ORDER

      The parties have filed a consent motion [ECF 274] that requests leave to file

a second amended complaint and entry of a proposed scheduling order. For good

cause shown, the motion is GRANTED. The clerk is ORDERED to file ECF 274-1

separately on the docket as the operative complaint.

      The State Defendants’ motion to dismiss the original complaint [ECF 124] is

DENIED as moot. Defendants’ various motions to dismiss the first amended

complaint [ECFs 168, 169, 170, 171, 173, 174, 176, 189, 249, 250, 252, 253, 254, 255,

256, 257, 258] are DENIED as moot. The Court will, however, consider the

arguments presented in these briefings (including any supporting materials) in

connection with its consideration of the second amended complaint.

      By May 14, 2025, each set of Defendants may answer or file a supplemental

motion to dismiss that responds only to the changes in the second amended

complaint. By May 21, Plaintiffs may file a consolidated response to any
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supplemental motions to dismiss. By May 28, each set of Defendants may file a

reply in support of its supplemental motion to dismiss.

      The parties’ consent motion also included a stipulation of dismissal with

prejudice of Plaintiff Sang Huynh’s claims. Those claims are DISMISSED with

prejudice, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). The parties

will bear their own costs and fees with respect to Plaintiff Huynh’s claims. The

Clerk is INSTRUCTED to terminate Plaintiff Huynh from this case.

      SO ORDERED this 30th day of April, 2025.




                                                    Steven D. Grimberg
                                                 United States District Judge
